      Case 21-59325-bem          Doc 25 Filed 02/08/22 Entered 02/08/22 10:41:41                    Desc Ntc. -
                                      Rescheduled 341 Page 1 of 1

                                    UNITED STATES BANKRUPTCY COURT

                                            Northern District of Georgia


In     Debtor(s)
Re:    Sheila Juanita Mayes                                Case No.: 21−59325−bem
       1416 Chase Common Dr.                               Chapter: 7
       Norcross, GA 30071                                  Judge: Barbara Ellis−Monro

       xxx−xx−0264


                          NOTICE OF RESCHEDULED MEETING OF CREDITORS


       You are hereby notified that the meeting of creditors has been rescheduled to March 1, 2022 at 08:50 AM
Meeting will be telephonic. To attend, Dial: 866−909−7148 and enter: 4958999, when prompted for
participation code.

       At least seven days prior to the meeting, the debtor must provide the trustee with a photocopy of (1) the most
recently filed federal income tax return or a transcript thereof; (2) government−issued photo ID; and (3) evidence of
Social Security Number. Contact the trustee to obtain instructions for submitting these materials.



The Trustee assigned to this case is:

S. Gregory Hays
Hays Financial Consulting, LLC
Suite 555
2964 Peachtree Road
Atlanta, GA 30305

(404) 926−0060




                                                           M. Regina Thomas
                                                           Clerk of Court
                                                           U.S. Bankruptcy Court




Dated: February 8, 2022
Form 250
